This Court is a court of errors to rectify                       (30) errors in law, and it is a settled rule to affirm every judgment appealed from which is not erroneous. The statement of the case by the presiding judge is, in our practice, a substitute for a bill of exceptions, which sets forth the errors complained of. If no such statement accompanies the case, it is our duty to pronounce such judgment upon the record as the court below ought to have done. No such statement accompanies this case. We have looked through the record carefully, and perceive no error in it. The judgment below, not being shown to be erroneous, must be considered correct in point of law, and must be affirmed.
PER CURIAM.                              Judgment affirmed.
Cited: Brown v. Kyle, 47 N.C. 443; S. v. Leitch, 82 N.C. 539; S. v.Powell, 94 N.C. 923; Walton v. McKesson, 101 N.C. 436; S. v. Davis,109 N.C. 811; S. v. Lawson, 123 N.C. 743. *Page 34 